                   Case 2:17-cr-00094-LSC-CSC Document 50 Filed 02/12/18 Page 1 of 7


AO 245B (Rev. 09/1 7)   Judgment in a Crimina] Case
                         Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama
                                                                          )
              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                          )
                                    v.                                    )
                  RICHARD LEE BURNETTE                                    )
                                                                                    Case Number: 2:17cr94-01-LSC
                                                                          )
                                                                          )         USM Number: 17151-002
                                                                          )
                                                                          )          Richard Kelly Keith

THE DEFENDANT:
                                                                          )         Defendant's Attorney



g pleaded guilty to count(s)             One of the Indictment on October 26, 2017

El pleaded nolo contendere to count(s)
   which was accepted by the court.
I=1 was found guilty on count(s)
    after a plea of not guilty.

The defcndant is adjudicatcd guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count

 18 USG 922(g)(1)                    Felon in Possesslon of a Firearm                                         2/9/2016                    1




       The defendant is sentenced as provided in pages 2 through                7          of this judgmcnt. The sentence is imposcd pursuant to
thc Scntencing Reform Act of 1984.

El Thc defendant has becn found not guilty on count(s)

   Count(s)       Two of the Indictment                     is    El are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United Statcs attorney for this district within 30 days of any change of name, residence,
or rnailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. If ordered to pay restitution,
the dcfendant must notify thc court and United Statcs attorney of material changes in economic circumstances.

                                                                          2/2/2018
                                                                         Dale of Imposition of Judgment



                                                                          /s/ L.Scott Coogler
                                                                         Signature ofludge




                                                                          L. SCOTT COOGLER, UNITED STATES DISTRICT JUDGE
                                                                         Name and Title ofJudge


                                                                          2/12/2018
                                                                         Date
                   Case 2:17-cr-00094-LSC-CSC Document 50 Filed 02/12/18 Page 2 of 7


AO 245B (Rev. 09/17) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      2   or   7
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 2:17cr94-01-LSC

                                                           IMPRISONMENT

         The defendant is hereby committed to the eustody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:

  120 Months. This sentence shall run concurrently with 3:17cr377-01-LSC.




      IA The court makes the following recommendations to the Bureau of Prisons:

  The court recommends that the defendant be designated to a facility near as possible to Montgomery, Alabama.
  The court recommends that the defendant be designated to a facility where drug treatment is available.


      g   The defendant is remanded to the custody of the United States Marshal.

      El The defendant shall surrender to the United States Marshal for this district:

          171 at                                 ❑ a.m,      0 p.m.        on

          ❑ as notified by the United States Marshal.

      ❑ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          1:1 before 2 p.m. on
          El as notified by the United States Marshal.
          El as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                         to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
                  Case 2:17-cr-00094-LSC-CSC Document 50 Filed 02/12/18 Page 3 of 7


AO 245B (Rev. 09117) Judgment in a Criminal Case
                     Sheet 3 -- Supervised Release
                                                                                                      Judgment—Page     3    of
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 2:17cr94-01-LSC
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of
 3 Years. This term shall run concurrently with 3:17cr377-01-LSC.




                                                     MANDATORY CONDITIONS

1.   You must not commit another federal, state or loeal crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at !east two periodic drug tests thereafter, as determined by the court.
            El The above drug tcsting condition is suspendcd, bascd on the court's determination that you
                pose a low risk of future substance abuse.(check fapplicable)
4.    C] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statutc authorizing a sentence of
         restitution. (check ifappficable)
5.    g You must cooperate in the colleetion of DNA as directed by the probation officer. (check f
                                                                                                 i applicable)
6.    El   You must comply with the requirements of the Sex Offender Registration and Notification Act(42 U.S.C. § 16901, ei seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convictcd of a qualifying offense. (check ifapplicable)
7.    ❑ You must participate in an approvcd program for domestic violence. (check ifapplicable)




You must comply with the standard conditions that have been adopted by this court as well as with any othcr conditions on the attached
page.
                 Case 2:17-cr-00094-LSC-CSC Document 50 Filed 02/12/18 Page 4 of 7


 AO 245B (Rev, 09/17) Judgment in a Criminal Case
                      Sheet 3A     Supervised Release
                                                                                               Judgment—Page         4        of
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 2:17cr94-01-LSC

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
bccause thcy establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the eourt about, and bring about improvements in your eonduet and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      relcase from imprisonment, unless the probation officer instructs you to report to a different probation offiee or within a diffcrent time
      frame.
2.    After initially reporting to thc probation officc, you will reeeive instructions from the court or the probation officer about how and
      whcn you must report to the probation offieer, and you must report to thc probation officer as instruetcd.
3.    You must not knowingly leave thc federal judicial district where you are authorized to reside without first getting permission from the
      eourt or the probation officer.
4.    You must answer truthfully thc questions askcd by your probation offieer.
5.    You must live at a place approved by the probation officer. If you plan to change whcre you live or anything about your living
      arrangements(such as the peoplc you livc with), you must notify thc probation offieer at least 10 days before the changc. If notifying
      thc probation offieer in advancc is not possible due to unanticipated circumstances, you must notify the probation officcr within 72
      hours of becoming aware of a change or expccted change.
6.    You must allow the probation offiecr to visit you at any time at your home or elsewhere, and you must permit the probation officcr to
      take any items prohibited by the eonditions of your supervision that hc or she observes in plain view.
7.    You must work full timc (at lcast 30 hours per week) at a lawful type of cmployrnent, unless thc probation officer excuses you from
      doing so. If you do not have full-time employrnent you must try to find full-time employment, unless the probation officcr excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officcr at least 10 days beforc the changc. If notifying the probation offieer at least 10
      days in advance is not possible due to unantieipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expectcd change.
8.    You must not communicate or interact with someone you know is engaged in criminal aetivity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting thc permission of the
      probation officcr.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation offiecr within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destruetive deviee, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specifie purpose of causing bodily injury or death to anothcr person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforecment agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation offieer determines that you pose a risk to another person (ineluding an organization), the probation officer may
      require you to notify thc person about the risk and you must comply with that instruction. The probation officer may contaet the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instruetions of the probation officer relatcd to thc eonditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the eonditions speeified by the court and has provided me with a written eopy of this
judgment containing these conditions. For furthcr inforrnation regarding these eonditions, sce Overview ofProbation and Supervised
Release Conditions, available at: www.useourts.gov.


Defendant's Signature                                                                                     Date
               Case 2:17-cr-00094-LSC-CSC Document 50 Filed 02/12/18 Page 5 of 7

 AO 245B(Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3D — Supervised Release
                                                                                           Judgment—Page    5     of          7
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 2:17cr94-01-LSC

                                       SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in an approved program by the United States Probation Office for substance abuse as
directed, which may include testing to determine whether he has reverted to the use of drugs. The defendant shall
contribute to the cost of any treatment based on his ability to pay and the availability of third-party payments.

2. The defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
court.
                 Case 2:17-cr-00094-LSC-CSC Document 50 Filed 02/12/18 Page 6 of 7


AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 5 —Criminal Monetary Penalties
                                                                                                           Judgment — Page       6      of       7
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 2:17cr94-01-LSC
                                              CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                   JVTA Assessment*                     Fine                        Restitution
TOTALS             $ 100.00                   $                                    $                           $



E The determination of restitution is deferred until                           An Amended Judgment in a Criminal Case(AO 245C) will be entered
  after sueh determination,

E    The defendant must make restitution (including community restitution) to the following payees in the arnount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or pereentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                          Total Loss**             Restitution Ordered             Prioritv or Percentne




TOTALS                                                         0.00                                       0.00



O     Restitution amount ordered pursuant to plea agreement S

CI    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in futl before the
      fifteenth day after the date of the judgrnent, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subjeet
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

E     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      E    the interest requirement is waived for the          E       fine   D restitution.

      E    the interest requirement for the       II)   fine       ❑     restitution is modified as follows:

* Justiee for Victims ofTrafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A,and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                 Case 2:17-cr-00094-LSC-CSC Document 50 Filed 02/12/18 Page 7 of 7

AO 245B (Rev 09/1 7) Judgment in a Criminal Case
                     Sheet 6 — Schedule of Payrnents
                                                                                                         Judgrnent   Page    7     of
DEFENDANT: RICHARD LEE BURNETTE
CASE NUMBER: 2:17cr94-01-LSC


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A • Lump sum payment of$                 100.00             due immediately, balance due

           El    not later than                                  , or
           gi    in accordance with El C,          ❑ D,     El    E, or    gl F below; or

B    0 Payment to begin immediately(may be combined with                  0C,        ❑ D, or     0 F below); or

C    0 Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                    (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the datc of this judgment; or

D    0 Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                     (e.g.. months or years), to commence                      (e.g., 30 or 60 days) after rclease from imprisonment to a
       term of supervision; or

E    El    Payment during the terrn of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     El   Special instructions regarding the payment of criminal monetary penalties:

            All criminal monetary payments are to be made to the Clerk, United States District Court, One Court Street,
            Montgomery, Alabama.




Unless the court has expressly ordered otherwise,ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, cxcept those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall reccive credit for all payments previously made toward any criminal monetary penalties imposed.




O    Joint and Several

     Dcfcndant and Co-Defcndant Namcs and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




E    The defendant shall pay the cost of prosecution.

O    The defendant shall pay the following court cost(s):

O    The defendant shall forfeit the defendant's interest in the following property to the United States:
      an AMT-California (Arcadia Machine & Tool), model Backup,.380 caliber semi-automatic pistol, bearing serial number
      A04932.

Payments shall be applied in the following order:(1) assessment,(2)restitution principal,(3)restitution interest,(4)fine principal,(5)fine
interest,(6) community restitution,(7)JVTA assessmcnt,(8) penalties, and (9) costs, inctuding cost of prosecution and court costs.
